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Jul 19, 2019, 10:47 PM

esi! Verizon LTE 6:45 PM ()
@ ©
Charlie >

Jul 21, 2019, 12:35 PM

Are you ok?

VerMielsaite cloak ae

¢ale) ivan ate) me) 4 Ks

| know the feeling. I've
been turned inside out
and upside down. | love

want Dawmawin awnel lime aA
Case 3:23-cv-00017-HEH Document 1-7 Filed 01/05/23 Page 2 of 2 PagelD# 57
yuu rani, GIUEtilov

sorry we fought. Mari is
packing me up to go to
Lexington. I hope you will
come with me.

Did you tell Connie that
pool day is postponed?

 @ text Messac
e €> & © @ p

et’ Verizon LTE

<@D

Charlie >

Gost cits eo ae

TCM

| will
